

People v Wilson (2020 NY Slip Op 04496)





People v Wilson


2020 NY Slip Op 04496


Decided on August 12, 2020


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on August 12, 2020
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

CHERYL E. CHAMBERS, J.P.
JEFFREY A. COHEN
COLLEEN D. DUFFY
FRANCESCA E. CONNOLLY, JJ.


2015-09365
 (Ind. No. 2833/13)

[*1]The People of the State of New York, respondent,
vJohn Wilson, appellant.


John Wilson, Comstock, NY, appellant pro se.
Melinda Katz, District Attorney, Kew Gardens, NY (Johnnette Traill, Nancy Fitzpatrick Talcott, and Jill A. Gross-Marks of counsel), for respondent.
Paul Skip Laisure, New York, NY (Yvonne Shivers of counsel), former appellate counsel.



DECISION &amp; ORDER
Application by the appellant for a writ of error coram nobis to vacate, on the ground of ineffective assistance of appellate counsel, a decision and order of this Court dated July 18, 2018 (People v Wilson, 163 AD3d 881), affirming a judgment of the Supreme Court, Queens County, rendered August 12, 2015.
ORDERED that the application is denied.
The appellant has failed to establish that he was denied the effective assistance of appellate counsel (see Jones v Barnes, 463 US 745; People v Stultz, 2 NY3d 277).
CHAMBERS, J.P., COHEN, DUFFY and CONNOLLY, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








